Case 7:20-cv-00255 Document 1-1 Filed on 09/02/20 in TXSD Page 1 of 20




              SCHEDULE A
 Case 7:20-cv-00255 Document 1-1 Filed on 09/02/20 in TXSD Page 2 of 20




                                       SCHEDULE A

                            AUTHORITY FOR THE TAKING


       The property is taken under and in accordance with 40 U.S.C. §§ 3113 and 3114,

which authorize the condemnation of land and the filing of a Declaration of Taking; the

Act of Congress approved September 30, 1996, as Public Law 104-208, Division C,

Section 102, 110 Stat. 3009-546, 3009-554-55, as amended and codified at 8 U.S.C. §

1103(b) & note; and the Act of Congress approved February 15, 2019, as Public Law 116-

6, div. A, tit. II, Section 230, which appropriated the funds that shall be used for the taking.
Case 7:20-cv-00255 Document 1-1 Filed on 09/02/20 in TXSD Page 3 of 20




              SCHEDULE B
 Case 7:20-cv-00255 Document 1-1 Filed on 09/02/20 in TXSD Page 4 of 20




                                     SCHEDULE B

                                   PUBLIC PURPOSE



       The public purpose for which said property is taken is to construct, install, operate,

and maintain roads, fencing, vehicle barriers, security lighting, cameras, sensors, and

related structures designed to help secure the United States/Mexico border within the State

of Texas.
Case 7:20-cv-00255 Document 1-1 Filed on 09/02/20 in TXSD Page 5 of 20




              SCHEDULE C
Case 7:20-cv-00255 Document 1-1 Filed on 09/02/20 in TXSD Page 6 of 20




                                  SCHEDULE C

                              LEGAL DESCRIPTION

                                 Starr County, Texas

Tract: RGV-RGC-5063
Owner: Martin Ricardo Garza, et al.
Acres: 0.730
Case 7:20-cv-00255 Document 1-1 Filed on 09/02/20 in TXSD Page 7 of 20




                         SCHEDULE C (Cont.)
Case 7:20-cv-00255 Document 1-1 Filed on 09/02/20 in TXSD Page 8 of 20




              SCHEDULE D
Case 7:20-cv-00255 Document 1-1 Filed on 09/02/20 in TXSD Page 9 of 20



                            SCHEDULE D

                             MAP or PLAT

                      LAND TO BE CONDEMNED
Case 7:20-cv-00255 Document 1-1 Filed on 09/02/20 in TXSD Page 10 of 20



                         SCHEDULE D (Cont.)
Case 7:20-cv-00255 Document 1-1 Filed on 09/02/20 in TXSD Page 11 of 20



                         SCHEDULE D (Cont.)
Case 7:20-cv-00255 Document 1-1 Filed on 09/02/20 in TXSD Page 12 of 20



                         SCHEDULE D (Cont.)
Case 7:20-cv-00255 Document 1-1 Filed on 09/02/20 in TXSD Page 13 of 20



                               SCHEDULE D (Cont.)




Tract: RGV-RGC-5063
Owner: Martin Ricardo Garza, et al.
Acreage: 0.730
Case 7:20-cv-00255 Document 1-1 Filed on 09/02/20 in TXSD Page 14 of 20




               SCHEDULE E
Case 7:20-cv-00255 Document 1-1 Filed on 09/02/20 in TXSD Page 15 of 20



                                      SCHEDULE E

                                     ESTATE TAKEN

                                    Starr County, Texas

Tract: RGV-RGC-5063
Owner: Martin Ricardo Garza, et al.
Acres: 0.730

        The estate acquired is fee simple, subject to existing easements for public roads
and highways, public utilities, railroads, and pipelines; and subject to the mineral
interests of third parties; excepting and reserving to the Grantor all interests in minerals
and appurtenant rights for the exploration, development, production and removal of said
minerals;
        Reserving to the owners of land described in Certified Copy of Final Decree of
Partition recorded with Starr County Clerk, Texas, on 4 March 1936, volume 88, page
470, document number 1935-4879, and Warranty Deed recorded with Official Records of
Starr County, Texas on 8 August 1973, volume 372, page 381, document number 1973-
83611, and Deed of Gift recorded with Official Records of Starr County, Texas on 9 June
2003, volume 965, page 344, document number 2003-230492 reasonable access to and
from the owners’ lands lying between the Rio Grande River and the border barrier
through opening(s) or gate(s) in the border barrier between the westernmost mark labeled
“Beginning” and easternmost mark labeled “Ending” depicted on the map below;
        Excepting and excluding all interests in water rights and water distribution and
drainage systems, if any, provided that any surface rights arising from such water rights
or systems are subordinated to the United States’ construction, operation, and
maintenance of the border barrier.
Case 7:20-cv-00255 Document 1-1 Filed on 09/02/20 in TXSD Page 16 of 20



                         SCHEDULE E (Cont.)
Case 7:20-cv-00255 Document 1-1 Filed on 09/02/20 in TXSD Page 17 of 20




               SCHEDULE F
Case 7:20-cv-00255 Document 1-1 Filed on 09/02/20 in TXSD Page 18 of 20




                                      SCHEDULE F

                        ESTIMATE OF JUST COMPENSATION



   The sum estimated as just compensation for the land being taken is TWO THOUSAND

AND THREE HUNDRED DOLLARS AND NO/100 ($2,300.00), to be deposited

herewith in the Registry of the Court for the use and benefit of the persons entitled thereto.
Case 7:20-cv-00255 Document 1-1 Filed on 09/02/20 in TXSD Page 19 of 20




               SCHEDULE G
Case 7:20-cv-00255 Document 1-1 Filed on 09/02/20 in TXSD Page 20 of 20
